                                                               FINANCIAL
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                                                                                                      Jeffrey N. LeibeII
                                                                                        Chief Legal & Financial Officer
                                                                                                       (201) 853-1246
                                                                                                   jleibell@frsco.com

September 13, 2022
BY MESSENGER
Clerk of the Court
United States District Court
  for the Northern District of California
San Francisco Courthouse
450 Golden Gate Avenue
San Francisco, CA 94102

                 In re: Optical Disk Drive Products Antitrust Litigation,
                 Indirect Purchaser Actions
                 No. 3:10-md-2143 RS (JCS) (N.D. Cal.)

Dear Madam or Sir:
       Financial Recovery Services, LLC d/b/a Financial Recovery Strategies ("FRS"} has been
retained by 2,098 class members that accepted first round distribution payments in connection
with the settlements obtained in the above-referenced action. FRS respectfully submits the
accompanying pleading in connection with the pending application for a temporary restraining
order (Dkt. No. 3108}. Please enter the pleading on the docket and forward a copy to Judge
Seeborg's chambers.

        As the attached email demonstrates, FRS, as a result of the short time frame for response
permitted by the Court's order (Dkt No. 3109}, provided the accompanying pleading to IPP class
counsel today at 12:00 pm PDT so that they would "have the opportunity, given the deadline for
your response, to respond to it" by the 2:00 pm PDT deadline. For the same procedural reason,
FRS's transmittal to IPP counsel also included the "request that, as a courtesy to the class
members that retained FRS, you include our letter with your response or submit it separately."
Unfortunately, IPP class counsel did neither, nor did they advise FRS that they would not
accommodate our request. Also, even though IPP counsel had FRS's four-page pleading two
hours prior to filing IPPs' response (Dkt. No. 3110}, that response neither addressed the matters
set forth by FRS nor alerted the Court to the fact that FRS had prepared a pleading that had been
provided to IPP counsel.

       FRS, which is located outside of California, is thus attempting by this letter to remedy IPP
counsel's failure. The matters set forth in the accompanying pleading are highly relevant to the
Court's consideration of the pending TRO application.



 www.FRSco.com         80 Wesley Street, South Hackensack, NJ 07606   Phone: (201) 853-0300            Fax: (201) 853-0301
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                                                STRATEGIES
Clerk of the Court




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September 13, 2022




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Page 2




a
        Thank you for your consideration of this matter.

Respectfully,




Copy to: All Counsel
Jeffrey N. Leibell

From:                        Jeffrey N. Leibel!
Sent:                        Tuesday, September 13, 2022 3:03 PM
To:                          Shana E. Scarlett
Cc:                          Robin Niemiec
Subject:                     RE: ODD Indirect- Second Distribution
Attachments:                 ODD ndirect - FRS Letter to Judge Seeborg (2022-091-13)(2).pdf


Shana,
I'm sorry that we could not reach agreement on the second distribution issue discussed below.
Given that, with the pending TRO application, circumstances have moved, we thought it best to provide to the Court a
brief letter that sets forth FRS's reasons for using a pro rata approach rather than the flat amount approach currently
planned. In this manner, when the Court considers the TRO application, it will have the benefit of all positions.
I am providing this to you directly so that you have the opportunity, given the deadline for your response, to respond to
it. For the same procedural reason-that is, the lack of time, we request that, as a courtesy to the class members that
retained FRS, you include our letter with your response or submit it separately.
Thanks,
Jeff

Jeffrey N. Leibell
Chief Legal & Financial Officer
201.853.1246 I jleibell@frsco.com I Linkedln


  :)�
 FU
                Financial Recovery Strategies
                80 Wesley Street, South Hackensack, NJ 07606
                201.853.0300 Main I 201.853.0301 Fax I www.FRSCO.com
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The above communication is not intended to provide ally tax advice. lfyou wish to obtain tax advice concerning ally mauer described or referred to ill this email
message.you should co11tactyo11r tax advisor.
Finallcial Recovery Strategies (FRS) is a third-party class action settlement claims recovery colls11ltillg firm; we are not class coullsel or a claims admillistrator. Class
members may alwaysfile claims Oil their own without retaining FRS, and may contact class counsel and the claims administrator for information about a settlement
and for claims filillg assistance. FRS, if retained, works on an agreed-upoll contillgent commission basis.



From: Shana E. Scarlett <shanas@hbsslaw.com>
Sent: Monday, September 12, 2022 1:14 PM
To: Jeffrey N. Leibel! <jleibell@frsco.com>
Cc: Robin Niemiec <rniemiec@frsco.com>
Subject: RE: ODD Indirect- Second Distribution


****This Email Originated Outside of FRS. Use Caution When Clicking Links or Opening Attachments.****
Mr. Leibel!,
Thank you for your correspondence.
To be clear, the first round distribution was based on the number of claimants and devices claimed. The second round
will be a straight pro-rata distribution based on (1) the amount of uncashed or unredeemed funds remaining and (2) the
number of claimants that actually cashed check or redeemed digital payments in the first round. We are under a deadline
                                                                                     1
of September 19 to begin the second round distribution and this is most straightforward way to meet that deadline. Trying
to do an exact mirror of the first round based on the number of claimed devices would be significantly more complicated,
would introduce weeks (if not months) of delay to perform the calculations, and would significantly increase the
administrative costs to the class. For all of these reasons, we recommended the pro-rata distribution that we did.
Similar types of pro rata distributions in second rounds have been approved by other courts. It is an efficient way to ensure
that the funds are returned to class members who took the necessary action to claim funds in the first round, and to
disburse the funds in a fair and equitable way.
I hope this helps to explain our position.
Best regards,
Shana



Shana Scarlett I Hagens Berman Sobol Shapiro LLP I Direct: (510) 725-3032


From: Jeffrey N. Leibel! <jleibell@frsco.com>
Sent: Monday, September 12, 2022 9:30 AM
To: Shana E. Scarlett <shanas@hbsslaw.com>
Cc: Robin Niemiec <rniemiec@frsco.com>
Subject: ODD Indirect- Second Distribution


Shana,
I am writing to express concern over what appears to be a plan to distribute to each claimant that accepted their first
round distribution payment a second round payment that ignores the number of eligible units in each such claim. While
there is no motion docketed that seeks approval of the flat amount distribution plan, paragraph 7 of the attached
declaration submitted by Sipree's CEO (Dkt 3107) seems conclusive: "The Phase II second round distribution amount was
determined to be a flat $133.93 for the 249,574 class members who accepted their payment in the Phase I distribution."
Based on FRS's rough math, and assuming that the second round pro rata would be approximately 20% of the $3.81 first
round pro rata (i.e., the amount to be distributed in the second round, $33,426,766.89 (Dkt. 3107, 1]6) is 20% of the
$167,197,144.48 that was distributed in the first round (Dkt. 3107, ,is), that flat distribution amount plan would cost FRS's
clients approximately $1,000,000.
FRS is not aware of any other class action settlement in which a flat distribution amount, rather than a pro rata amount
based on eligible units, was used to conduct a second distribution of such a large proportion of the first distribution and
when doing so would have such inequitable consequences, and I am not aware of any facts that would make a flat
distribution appropriate here. There is nothing in the attached Order Approving [IPP]'s Revised Plan of Distribution and
Schedule that suggests that a flat amount will be the mechanism for the second round distribution:
         Report Results of Phase I
         DigitalPay and Epiq to identify and report funds that have not yet been taken by payees. Final accounting
         report and reconciliation will be created, along with proposed Second Round Distribution amounts. A
         report on first round distribution will be filed with the Court with a proposed plan for Second Round
         Distribution.
         Phase II: Second Round Distribution
         Claims administrator DigitalPay securely delivers a final pro rata payment to all payees who took a
         payment in the Initial Payment Offering (Phase I). ...
Dkt. 3089, 1:25 - 2:7. Rather, the use of the terms "Second Round Distribution amount�" (emphasis added), and "final eI.Q.
rata payment" (emphasis added), suggests otherwise.
                                                             2
I would like to discuss this with you at your earliest convenience so that we may avoid the necessity of an objection.
Thanks,
Jeff


Jeffrey N. Leibel!
Chief Legal & Financial Officer
201.853.1246 I jleibell@frsco.com I Linkedln


               Financial Recovery Strategies
               80 Wesley Street, South Hackensack, NJ 07606
               201.853.0300 Main I 201.853.0301 Fax I www.FRSCO.com
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message.you should contact your tax advisor.
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and for claims filing assistance. FRS, if retained, works 011 an agreed-upon contingent commission basis.




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                                                              FINANCIAL
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                                                                                                     Jeffrey N. Leibel I
                                                                                       Chief Legal & Financial Officer
                                                                                                      (201) 853-1246
                                                                                                  jleibell@frsco.com

September 13, 2022
BY CM/ECF
Honorable Richard Seeborg
United States District Judge
United States District Court
  for the Northern District of California
San Francisco Courthouse
450 Golden Gate Avenue
San Francisco, CA 94102

                In re: Optical Disk Drive Products Antitrust Litigation,
                Indirect Purchaser Actions
                No. 3:10-md-2143 RS (JCS) (N.D. Cal.)

Dear Judge Seeborg:
       Financial Recovery Services, LLC d/b/a Financial Recovery Strategies ("FRS") has been
retained by 2,098 class members that accepted first round distribution payments in connection
with the settlements obtained in the above-referenced action. 1 FRS was in the process of
attempting to persuade IPPs to forgo the inequitable flat amount second distribution that they
planned to conduct in favor of the "fair, reasonable and adequate" approach for which they
advocated in connection with seeking approval of the plan of allocation and that has been
required in substantially every distribution of a non-reversionary common fund class action
settlement, 2 when we learned of the application for a temporary restraining order currently



1 FRS's clients have determined that, rather than manage their own claims, it is more cost
effective to retain FRS to do so, which enables them to focus on operating their own businesses.
Since its founding in 2008, FRS has adhered to the highest ethical and professional standards in
its sector (for FRS's "Code of Conduct & Professional Ethics," see www.frsco.com/about/code-of­
ethics) to provide its clients, which number in excess of 21,000 and include "Fortune" household­
name multinational conglomerates, with industry leading class action claims management
services. FRS's professionals include five attorneys and eleven former claims administrators {for
brief biographies, see www.frsco.com/teams) that together have spent decades prosecuting and
settling class actions, administering class action settlements and managing class action claims.
2 E.g., !PPS' Mot. Final App. of Settle with PLDS, Pioneer & TEAC Defs., Dkt. 2432, at 12:17-19 &
n.57 ("A plan of allocation that reimburses class members based on the type and extent of their


www.FRSco.com         80 Wesley Street, South Hackensack, NJ 07606   Phone: (201) 853-0300            Fax: (201) 853-0301
                                                 FINANCIAL
                                                 RECOVERY
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Honorable Richard Seeborg
September 13, 2022
Page 2

pending. 3 Given the current procedural posture of the issue-l PPs' response to the TRO
Application is due today by 2:00 pm PDT, FRS determined that, rather than continue
communicating with IPP counsel, we would provide a brief recitation of points and authorities to
augment those, with which we concur, already provided in the TRO Application. 4

                                    POINTS AND AUTHORITIES

        The proposed flat amount plan, whereby each eligible claimant that accepted the first
round distribution payment would receive the same $133.93, would treat similarly situated class
members dissimilarly and contradicts not only this Court's Order Approving [IPP]'s Revised Plan
of Distribution and Schedule, 5 as the TRO Application correctly points out, but universally applied
precedent and Rule 23 of the Federal Rules of Civil Procedure. Under IPPs' current plan, a claim
with 10 units will be treated the same as a claim with 100,000 units. Those claims with fewer
eligible units would receive per eligible unit more - in many cases, substantially more - than
would claimants with more eligible units. As an example, FRS's largest claim, which included
100,625 eligible units, would receive, under the legally required pro rata a pproach,
approximately $76,475 rather than the $133.93 that I PPs propose. 6 That a mounts to a wealth
transfer from that class member to other class members of $76,341.07, or 99.8% of its rightful
distribution. Taken together, FRS's 2,098 clients, which were paid in the first round distribution
on a total of 1,837,237 eligible units, are entitled to roughly $1,396,300.12 in second round
distributions but will receive under IPPs' flat amount plan just $280,985.14, which amounts to a
wealth transfer from them to other claimants of $1,115,314.98, or approximately 79.9%, of their



injuries is generally reasonable.") (citing cases). FRS's email correspondence with IPP counsel is
attached hereto.
3 See Dkt. No. 3108 (the "TRO Application").
4 Given the timing set forth in the Court's order, Dkt. No. 3109, we have requested that IPP
counsel submit this letter together with their response.
5 Dkt No. 3089.
6
  Based on FRS's rough math, and assuming that the second round pro rata would be
approximately 20% of the $3.81 first round pro rata (i.e., the a mount to be distributed in the
second round, $33,426,766.89 (Dkt. 3107, 116), is 20% of the $167,197,144.48 that was
distributed in the first round ( Dkt. 3107, 1]5), FRS estimates the second round distribution pro
rata to be a pproximately $0.76.
                                                 FINANCIAL
                                                 RECOVERY
                                                 STRATEGIES
Honorable Richard Seeborg
September 13, 2022
Page 3

rightful distributions. In FRS's view, there is no justification for taking from one set of claimants
substantial sums to provide them to other claimants.

        If the claims administrator needs more time to perform the necessary pro rata
calculations, IPPs should seek an extension. Having substantial experience in claims
administration from all angles, prosecuting and settling them, managing their settlement
administrations, conducting those administrations and filing claims to recover from them, FRS is
aware that pro rata calculations are routinely prepared and, though some require calculations
that are more complicated than simply dividing the distributable cash amount by the number of
participating claims, as IPPs propose, the pro rata calculations needed here would not take an
unreasonable amount of time and effort. But even if they did, that delay is not a basis on which
to provide to similarly situated class members grossly different pro rata amounts. As Judge Tigar
held in Elder v. Hilton Worldwide Hldgs., Inc.,

               A court may approve a settlement only after considering whether "the
       proposal treats class members equitably relative to each other." Fed. R. Civ. P.
       23(e)(2)(D). "Courts generally are wary of settlement agreements where some
       class members are treated differently than others." True v. Am. Honda Motor Co.,
       749 F. Supp. 2d 1052, 1067 (C.D. Cal. 2010) (citation omitted); see also Ferrington
       v. McAfee, Inc., No. 10-CV-01455-LHK, 2012 WL 1156399, at *8 (N.D. Cal. Apr. 6,
       2012) ("[D]isparate treatment between class members increases the likelihood
       that the settlement agreement does not meet the Rule 23(e) standard." (citation
       omitted)).
Case No. 16-cv-00278-JST, 2020 WL 11762284, at *7 (N.D. Cal. Apr. 29, 2020).

       The proposed flat amount approach also does not comply with Rule 23(e)(2)(D), which
requires a court to ensure that "the proposal treats class members equitably relative to each
other." The Rule 23 Advisory Committee points out that, among the concerns that
paragraph (e)(2)(D) is designed to address is that "the apportionment of relief among class
members takes appropriate account of differences among their claims." 7 Because IPPs' proposed
flat amount approach will treat every claimant with pro rata payments less than $133.93
preferentially to every claimant with pro rata payments greater than that amount, it violates

7 See Fed. R. Civ. P. 23 Adv. Comm. Notes 2018 Amend., Subd. (e)(2) &,i,i (C) & (D); accord
Newberg §13:56 (5th ed.) (Westlaw Dec. 2021) ("A distribution of relief that favors some class
members at the expense of others may be a red flag that class counsel have sold out some of the
class members at the expense of others.").
                             Fl'S
                                                  FINANCIAL
                                                  RECOVERY
                                                  STRATEGIES
Honorable Richard Seeborg
September 13, 2022
Page 4

fundamental requirements for plans of allocation, violates Rule 23 and violates longstanding and
broadly applied precedent that prohibits favoring some class members at the expense of others. 8

                                          *   *   *   *   *
      Based on the foregoing, FRS respectfully requests that the Court order IPPs to employ the
same pro rata approach that the Court previously approved.




8 See, e.g., Thompson v. Transamerica Life Ins. Co., Case No. 2 :18-cv-05422-CAS-GJSx, 2020 WL
6145105, at *12 (C.D. Cal. Sept. 16, 2020) ("Pro rata settlement allocation, with no class member
being favored over others, such as proposed here, has repeatedly been deemed fair, adequate,
and reasonable.") (citing, inter alia, In re Vitamins Antitrust Litig., No. 99-197 TFH, 2000 WL
1737867, at *6 (D.D.C. Mar. 31, 2000) ("Settlement distributions, such as this one, that
apportions funds according to the relative amount of damages suffered by class members have
repeatedly been deemed fair and reasonable."); In re Lloyds' Am. Trust Fund Litig. , No. 96
Civ.1262 RWS, 2002 WL 31663577, at *19 (S. D.N.Y. Nov. 26, 2002) ("[P]ro rata allocations
provided in the Stipulation are not only reasonable and rational, but appear to be the fairest
method of allocating the settlement benefits."); In re PaineWebber Ltd. P'ships Litig., 171 F.R.D.
104, 135 (S.D.N.Y.), aff'd, 117 F.3d 721 (2d Cir. 1997) ("[P]ro rata distribution of the Settlement
on the basis of Recognized Loss will provide a straightforward and equitable nexus for allocation
and will avoid a costly, speculative and bootless comparison of the merits of the Class Members'
claims."); In re Cathode Ray Tube (CRT} Antitrust Litig., 2015 WL 9266493, at *8 (N.D. Cal. Dec. 17,
2015) ( "pro rata_allocations provided in the Stipulation are not only reasonable and rational, but
appear to be the fairest method of allocating the settlement benefits . ... The Court finds that this
plan 'fairly treats class members by awarding a pro rata share' to the class members based on
the extent of their injuries.") (citations omitted); In re Heritage Bond Litig., No. 02-M L-1475, 2005
WL 1594403, at *11 (C.D. Cal. June 10, 2005) ("A plan of allocation that reimburses class
members based on the extent of their injuries is generally reasonable. ... A plan of allocation ...
fairly treats class members by awarding a pro rata share to every Authorized Claimant.")
(citations and quotations omitted)).
Jeffrey N. Leibel!

From:                Shana E. Scarlett < shanas@hbsslaw.com>
Sent:                Monday, September 12, 2022 1:14 PM
To:                  Jeffrey N. Leibell
Cc:                  Robin Niemiec
Subject:             RE: ODD Indirect- Second Distribution


****This Email Originated Outside of FRS. Use Caution When Clicking Links or Opening Attachments.****
Mr. Leibell,
Thank you for your correspondence.
To be clear, the first round distribution was based on the number of claimants and devices claimed. The second round
will be a straight pro-rata distribution based on (1) the amount of uncashed or un redeemed funds remaining and (2) the
number of claimants that actually cashed check or redeemed digital payments in the first round. We are under a deadline
of September 19 to begin the second round distribution and this is most straightforward way to meet that deadline. Trying
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would introduce weeks (if not months) of delay to perform the calculations, and would significantly increase the
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Similar types of pro rata distributions in second rounds have been approved by other courts. It is an efficient way to ensure
that the funds are returned to class members who took the necessary action to claim funds in the first round, and to
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I hope this helps to explain our position.
Best regards,
Shana



Shana Scarlett I Hagens Berman Sobol Shapiro LLP I Direct: (51 0) 725-3032


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$167,197,144.48 that was distributed in the first round (Dkt. 3107, 115), that flat distribution amount plan would cost FRS's
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rata payment" (emphasis added), suggests otherwise.
I would like to discuss this with you at your earliest convenience so that we may avoid the necessity of an objection.
Thanks,
Jeff

Jeffrey N. Leibell
Chief Legal & Financial Officer
201.853.1246 I jleibell @frsco.com I Linkedln


      :)�
 FD
                Financial Recovery Strategies
                80 Wesley Street, South Hackensack, NJ 07606
                201.853.0300 Main I 201.853.0301 Fax I www.FRSCO.com
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members may alwaysfile claims on their own without retaining FRS, and may contact class co1111sel and the claims administrator/or information about a settlement
a11d for claimsfiling assistance. FRS, ifrewi11ed, works on an agreed-11pon contingent commiss1011 basis.




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